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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    CENTRAL DIVISION
                                       FRANKFORT

 UNITED STATES OF AMERICA,                        )
                                                  )
           Plaintiff,                             )        Civil No. 3:17-CV-00099-GFVT
                                                  )
 V.                                               )
                                                  )
 RALPH T. STUCKER, et al.,                        )                   ORDER
                                                  )
           Defendants.                            )


                                      *** *** *** ***
       This matter is before the Court on the Motion to Accept the Warning Order Attorney

Report and Award Fees filed by H. Wayne Roberts. [R. 15.] Mr. Roberts was appointed by

Order of this Court as warning order attorney on March 2, 2018, for Defendant Meghan Gibbons.

[R. 9.] Accordingly, Mr. Roberts has made a diligent attempt to notify Meghan Gibbons of the

pendency of this action. No objections or responses have been filed and the time for doing so

has elapsed. See LR 7.1(c). Further, Mr. Roberts’ Motion to Accept the Warning Order

Attorney Report and Award Fees [R. 15], moved the court for reimbursement on behalf of his

efforts related to Defendant Meghan Gibbons and Defendant Unknown Spouse of Meghan

Gibbons. The Court previously entered an Order accepting Mr. Roberts’ Motion as it related to

Defendant Unknown Spouse of Meghan Gibbons. [R. 16.]

       Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.         The Motion for Attorney’s Fees [R. 15] and the Report of Warning Order

Attorney are ACCEPTED;


                                                 1
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       2.     The Court finds that the rights of the Defendant Meghan Gibbons have been

adequately protected;

       3.     In accordance with the Court’s Standing Order, Mr. Roberts is awarded a fee of

$200.00. Such fees and expenses shall be taxed as costs and paid by the United States of

America pursuant to this Court’s Order; and

       4.     H. Wayne Roberts is hereby discharged from further service as Warning Order

Attorney herein.

       This the 1st day of May, 2018.




                                               2
